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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           No. CR S 10-0223 JAM
                                   )
12                   Plaintiff,    )           STIPULATION AND ORDER
                                   )
13        v.                       )
                                   )           Date: November 12, 2013
14   CONNIE DEVERS,                )           Time: 1:45 p.m.
                                   )           Hon. John A. Mendez
15                  Defendant.     )
     ______________________________)
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17
          The parties appeared before the Court on September 10, 2013.
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     Consistent with the representations made at that appearance, the
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     parties request that the Court issue an Order:         (a) designating Dr.
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     Jason Roof as the examiner pursuant to 18 U.S.C. § 4247(b); (b)
21
     vacating the hearing currently set for September 24, 2013; (c)
22
     ordering that the defendant meet with Dr. Roof on October 3, 2013,
23
     or as soon thereafter as is practicable, to be examined; (d)
24
     ordering that any report concerning the evaluation be submitted to
25
     the parties and the Court no later than October 22, 2013; (e)
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     setting a hearing on the defendant’s motion for November 12, 2013,
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     at 1:45 p.m.; and (f) excluding time from calculation under the
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1    Speedy Trial Act from September 10, 2013, through November 12, 2013,
2    pursuant to 18 U.S.C. § 3161(h)(1)(A) [Local Code A].
3
4    IT IS SO STIPULATED.
5
6    DATE: September 16, 2013          By:        /s/ Philip A. Ferrari
                                                 PHILIP A. FERRARI
7                                                Assistant U.S. Attorney
8    DATE: September 16, 2013          By:        /s/ Philip A. Ferrari for
                                                 MARK REICHEL
9                                                Counsel for Defendant
                                                 CONNIE DEVERS
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11
          IT IS ORDERED that:     (a) Dr. Jason Roof is designated as the
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     examiner pursuant to 18 U.S.C. § 4247(b); (b) the hearing currently
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     set for September 24, 2013, is vacated; (c) the defendant shall meet
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     with Dr. Roof on October 3, 2013, or as soon thereafter as is
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     practicable, to be examined; (d) any report concerning the
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     evaluation shall be submitted to the parties and the Court no later
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     than October 22, 2013; (e) a hearing on the defendant’s motion will
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     occur on November 12, 2013, at 1:45 p.m.; and (f) Time shall be
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     excluded from calculation under the Speedy Trial Act from September
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     10, 2013, through November 12, 2013, pursuant to 18 U.S.C. §
21
     3161(h)(1)(A) [Local Code A].
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23        IT IS SO ORDERED.
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25   DATED: 9/16/2013                     /s/ John A. Mendez
                                          HON. JOHN A. MENDEZ
26                                        UNITED STATES DISTRICT COURT JUDGE
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